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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 www.flsb.uscourts.gov
In re:
         Vanessa Chiu
                                                          Bankruptcy No.: 21-21661-RAM
                                                          Chapter 13
            Debtor(s).
_________________________/

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the Order Granting In Part And
Denying In Part Motion For Contempt, And Compensatory And Punitive Sanctions For Non-
Compliance With Court Order Against Memorial Healthcare System was sent to all parties on
the attached service list.

Electronically on May 19, 2022: Nancy K. Neidich, Trustee; United States Trustee; Frank P.
Rainer, Esq. [ECF User]

First Class Mail on May 24, 2022:

Debtor(s), Vanessa Cruz Chiu
560 NE 161st ST
Miami, FL 33162
                                           Respectfully Submitted:
                                           JOSE A. BLANCO, P.A.
                                           By: /s/ Jose A. Blanco | FBN: 062449
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